Case 21-04077   Doc 16-29 Filed 01/14/22 Entered 01/14/22 21:47:06   Desc
                Exhibit CC Declaration of Trustee Page 1 of 5




                     Exhibit “CC”
      Case 21-04077      Doc 16-29 Filed 01/14/22 Entered 01/14/22 21:47:06              Desc
                         Exhibit CC Declaration of Trustee Page 2 of 5



                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 IN RE:
                                                   CASE NO. 19-42834
 MUHAMMAD NASIR SIDDIQI                            CHAPTER 7

                                  DEBTOR
 MARK A. WEISBART,
 CHAPTER 7 TRUSTEE                                 ADVERSARY NO. 21-04077

                                  PLAINTIFF
 V.

 MUHAMMAD NASIR SIDDIQI

                                  DEFENDANT

                DECLARATION OF MARK A. WEISBART IN SUPPORT OF
                  PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

I, Mark A. Weisbart, hereby declare under perjury:

         1.     I am the duly appointed and acting Chapter 7 trustee for the bankruptcy estate of

Muhammad Nasir Siddiqi (the “Defendant”), the debtor in the above-captioned chapter 7

bankruptcy case and the defendant in the above-numbered adversary proceeding. I have been a

panel chapter 7 trustee in the Eastern District of Texas since 1995.

         2.     This Declaration is being submitted in support of Plaintiff’s Motion for Summary

Judgment filed in this adversary proceeding.

         A. Defendant’s Section 341 Meeting Testimony

         3.     On November 13, 2019, as Trustee, I conducted the initial 341 meeting of creditors

in Defendant’s bankruptcy case (the “Initial Meeting”), and the continued meeting of creditors

held on December 13, 2019 (the “Continued Meeting”).

         4.     At the beginning of both the Initial Meeting and Continued Meeting I placed

Defendant under oath. Upon being duly sworn Defendant provided testimony at both meetings.

Declaration of Mark A. Weisbart                                                             Page 1
   Case 21-04077         Doc 16-29 Filed 01/14/22 Entered 01/14/22 21:47:06                Desc
                         Exhibit CC Declaration of Trustee Page 3 of 5



        5.      At the Initial Meeting, Defendant, under oath, testified:

        a) That he had reviewed his Petition, Schedules and Statement of Financial Affairs before
           they were filed; that no changes to these documents were required; that all his assets
           were listed on his Schedules; and that such documents were true and correct when
           signed; and

        b) That the Defendant owned a business, Hiba Entertainment (“Hiba”) that sponsored
           concerts of an Indian or Pakistani nature and that the business is no longer operating.

        B. The Exemption Order and Defendant’s Contempt

        6.      On March 5, 2020, I filed an Objection to Debtor’s Exemption [Case Doc 36]. On

Septembers 28, 2020, the Court entered it’s Agreed Order Regarding Trustee’s Objection to

Exemption [Case Doc 64] (the “Exemption Order”). The Exemption Order required Defendant to

(i) amend his Schedules B and C to provide correct description of his vehicles, (ii) identify which

vehicle he claimed as exempt, (iii) turn over to me, as Trustee, the vehicle that he was not claiming

exempt, (iv) amend Schedules B and C to include a detailed list of certain of his personal property

as outlined in the Agreed Order, and (v) amend his exemptions and turn over the non-exempt

vehicle to me, the Trustee, within 10 days of entry of the order.

        7.      Defendant failed to comply with these terms of the Exemption Order. Defendant

did not identify and turn over his non-exempt vehicle nor did he amend his Schedules within such

ten (10) day period. Consequently, on September 3, 2021, I filed a Motion to Show Cause Why

the Debtor Should Not be Held in Contempt or Sanctioned [Case Doc 101] seeking a hearing to

show cause why Defendant should not be held in contempt for failing and refusing to comply with

the Exemption Order

        8.      On October 22, 2021, the Court entered its Order of Contempt [Case Doc 108]

finding that Defendant was in contempt of court for failure to comply with the Exemption Order

and ordering him to turn over the non -exempt vehicle and to amend his Schedules as the that order

required within seven calendar days.

Declaration of Mark A. Weisbart                                                                Page 2
   Case 21-04077         Doc 16-29 Filed 01/14/22 Entered 01/14/22 21:47:06            Desc
                         Exhibit CC Declaration of Trustee Page 4 of 5



        C. Defendant’s Document Production

        9.      On multiple occasions during the course of the Bankruptcy Case I requested that

Defendant produce various documents and financial information. Despite these requests,

Defendant repeatedly failed to provide the documentation and financial information necessary for

me to assess, evaluate and determine Defendant’s financial condition and transactions. In

particular, Defendant failed to maintain and turnover banking and credit card statements, tax

returns and other documentation from which his financial condition and transactions could be

determined for the four (4) years prior to the commencement of the Bankruptcy Case. The

documents Defendant did turn over were limited. In addition, Defendant failed to turnover or

maintain the business and financial records of his wholly owned company, Hiba Entertainment,

Inc., or any other entity he owned or in which he held an interest.

        10.     On November 16, 2020, my office issued a subpoena (the “Subpoena”) to

Defendant for the production of various documents in relation to a separate adversary proceeding

styled Mark A. Weisbart, Trustee v. Jamela Siddiqi, Adv. No. 20-0403 (the “Avoidance

Adversary”). Defendant did not comply with the subpoena other than to produce documents that

were duplicative to documents previously produced to me in response to document requests during

the course of his bankruptcy case.

        11.     As a consequence, I filed a Motion to Compel Compliance with Subpoena and

Recovery of Fees and Costs [Adv Doc 20] seeking to compel Defendant’s compliance with the

Subpoena Defendant to produce the requested documents. On February 5, 2021, the Court entered

its Order to Compel Compliance with Subpoena [Adv Doc 27] (the “Compliance Order”) granting

the motion and requiring Defendant to produce the documents requested or an affidavit detailing

why the documents were not produced and why they were not available for production. The order

further required Defendant to produce information concerning his financial records that would

Declaration of Mark A. Weisbart                                                           Page 3
   Case 21-04077         Doc 16-29 Filed 01/14/22 Entered 01/14/22 21:47:06                   Desc
                         Exhibit CC Declaration of Trustee Page 5 of 5



allow me contact third parties to obtain the records.

        12.      Rather than produce any documents, on February 24, 2021, Defendant submitted

his Affidavit of Mohammad Siddiqi in Support of Response to Motion to Compel [Adv Doc 31]

providing a general explanation that he tried to obtain documents but did not have any additional

documents to provide me.

        13.      On March 24, 2021, Defendant was deposed in the Avoidance Adversary. With

respect to his efforts to obtain documents from third parties for production in compliance with the

Compliance Order, Defendant testified that:

        a. He contacted the IRS to obtain the tax returns for Hiba Entertainment, Inc. (his wholly

              owned company) once and after an hour he just hung up; that he did not send them any

              letter or go to the IRS website to retrieve the tax returns;

        b. After entry of the Compliance Order he called Citibank and was told they didn’t have

              anything to provide him on his Citi credit card; and other than call his attorney and look

              for documents he didn’t take any other actions to comply with the Compliance Order;

        c. He did not go back to his tax preparer to get tax returns.

    I declare under penalty of perjury that the foregoing is true and correct.

    Executed on the 14th day of January 2022.

                                                         ___________________________
                                                         Mark A. Weisbart




Declaration of Mark A. Weisbart                                                                   Page 4
